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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 U.S. NAVY SEALs 1–26, et al.,                   §
                                                 §
        Plaintiffs,                              §
                                                 §
 v.                                              §    Civil Action No. 4:21-cv-01236-O
                                                 §
 LLOYD J. AUSTIN, III, et al.,                   §
                                                 §
        Defendants.                              §

                                            ORDER

       Before the Court is the parties’ Joint Report (ECF No. 276), filed on May 1, 2024. The

Joint Report informs the Court that a resolution was reached and 30 days are required to finalize

the settlement agreement. Accordingly, the parties are ORDERED to file the appropriate

settlement papers by no later than May 31, 2024. Any existing deadlines are hereby STAYED

pending the filing of appropriate settlement papers by the parties. If the parties do not file the

appropriate settlement papers by the assigned date, or if further proceedings become necessary,

the parties should immediately file a Joint Status Report with the Court.

       SO ORDERED on this 3rd day of May, 2024.




                                                     _____________________________________
                                                     Reed O’Connor
                                                     UNITED STATES DISTRICT JUDGE
